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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

NEIL DYER,

       Plaintiff,

v.                                                             Case No: 5:18-cv-323-Oc-30PRL

BANK OF NEW YORK MELLON and JP
MORGAN CHASE BANK, NA,

       Defendants.


                                             ORDER

       THIS CAUSE comes before the Court on Defendant Bank of New York Mellon's

(“BONY”) Motion for Attorneys' Fees (Doc. 28) after this Court agreed to award BONY

attorneys’ fees as a sanction against Plaintiff (Doc. 27). Plaintiff did not respond to the

Motion. 1 Having reviewed the Motion and time records, the Court concludes BONY

should be awarded attorneys’ fees of $6,180.

       Calculating an appropriate fee award under federal law involves a two-step

process. See Norman v. Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1299–1302

(11th Cir. 1988). The court first calculates the “lodestar” by taking the number of hours


1
  Instead of responding to the Motion, Plaintiff filed an “Objection to Defendant The Bank of New
York Mellon’s Motion for Sanctions against Plaintiff and Motion for Reconsideration of the
Court’s Award of Sanctions.” (Doc. 29). As with all of Plaintiff’s filing in this case, the Objection
was not filed until the day after his response was due. See Doc. 27, n. 10. Plaintiff completely fails
to address the amount of attorneys’ fees BONY is requesting or the reasonableness of such fees in
the Objection, and instead attempts to relitigate the issues the Court previously addressed. But the
day after filing the Objection, Plaintiff appealed the Court’s dismissal of his action and award of
sanctions, which divested this Court of jurisdiction to rule on the arguments raised in the Objection.
See Green Leaf Nursery v. E.I. DuPont De Nemours & Co., 341 F.3d 1292, 1309 (11th Cir. 2003).
So the Court will proceed without a response from Plaintiff as to the merits of BONY’s request
for attorneys’ fees.
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reasonably expended on the litigation and multiplying it by a reasonable hourly rate. See

id. The court may then adjust the lodestar upward or downward based on an evaluation of

the factors articulated in Hensley v. Eckerhart, 461 U.S. 424, 434 (1983), that have not

been subsumed in the lodestar calculation. See id.; see also Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974) (enumerating factors to be

considered).2

       Having reviewed the affidavits and time sheets submitted by BONY and considering

the Hensley factors, the Court concludes BONY is entitled to $6,180 in attorneys’ fee. In

reaching that result, the Court concludes that BONY is entitled to (1) a lodestar rate of

$260/hour for 13 hours worked by defense counsel’s associate attorneys, and (2) a lodestar

rate of $350/hour for 8 hours worked by defense counsel’s partners.

       Accordingly, it is ORDERED AND ADJUDGED that:

       1.       Defendant Bank of New York Mellon's Motion for Attorneys' Fees (Doc. 28)

                is GRANTED.

       2.       The Clerk is directed to enter a judgment in favor of Defendant Bank of New

                York Mellon and against Plaintiff Neil Dyer in the amount of $6,180.00.

       DONE and ORDERED in Tampa, Florida, this 24th day of October, 2018.




Copies furnished to:
Counsel/Parties of Record

2
 The Eleventh Circuit has adopted as precedent decisions of the former Fifth Circuit rendered prior to
October 1, 1981. See Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir.1981) (en banc).

                                                  2
